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 8                             UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10                                      WESTERN DIVISION
11

12   SONJA LISTER, an individual;                      Case No. CV 15-3935-GW(RAOx)
13
                  Plaintiff,                           ORDER GRANTING MOTION TO
14                                                     DISMISS WITH PREJUDICE
     v.
15

16   CAVALRY PORTFOLIO SERVICES,
     LLC, a limited liability company;
17   DOES 1-10;

18                Defendants.
19
           The Court GRANTS the parties’ motion to dismiss and accordingly
20
     DISMISSES with prejudice the Complaint against Cavalry Portfolio Services, LLC.
21
     IT IS SO ORDERED.
22
     DATED: August 21, 2015
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24                                                GEORGE H. WU, U.S. DISTRICT JUDGE
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                                 Order Granting Motion to Dismiss With Prejudice
                                                                                   2:15-CV-03935-GW-RAO
